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AsHLEY D. AYERS, minn oe- will
52063 Wegee Road *
JaCObSburg, OH 43933-9723 *
*
Plaintiffs, *
*
vs. * Case No. / 761/ /9 §§
* dohn A. Vavra
STATE FARM IV|UTUAL AUTOMOBILE * Judge
INSURA|\|CE COMPANY, *
2710 Gateway Oal<s'Drive, Suite 150N *
SaCl‘<':lm€ntO, CA 95833 * COMPLAINT WITH ]URY
* DE|VIAND AT|'ACHED
*

Defendant,

NOW COME the Plaintiffs, Thomas M. Ayers and Ash|ey D. Ayers, who for their
Comp|aint against the Defendant, State Farm Mutual Automobi|e Insurance Company,

states as follows:

1. \ The_plaintiffs, Thomas M. Ayers and Ash|ey D. Ayers, are husband and
wife,‘ and they reside together in Jacobsburg, Be|mont County, Ohio.

2. The. defendant, State Farm Mutual Automobile insurance Company
(hereinafter“$_tate Farm”) is an I||inois corporation, licensed to conduct business in the
State of 0hio and is authorized to issue polices of insurance in the State of Ohio.

3. At all relevant times, the plaintiffs were joint'owne_rs of a 2012 Dodge
Ram 2500 pickup truck Which Was principally garaged at their home in Jacobsburg,

Be|montl Coun'ty, Ohio.

 

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4. _ The defendant, State Farm, issued a policy of automobile insurance to
the plaintiffs covering plaintiffs’ 2012 Dodge Ram 2500 truck, Po|icy Number 9222380- n
B12-35A, with a policy period of August 12, 2016 through February 12, 2017.

5. A copy of the policy referenced in Paragraph 4 above is not attached to
this Comp|aint inasmuch as the defendant, State Farm is already in possession of the
same. l

6. All premiums due and owing on the policy referred to in Paragraph 4
above were paid in _a timely fashion and the policy was in full force and effect
throughout the policy period of August 12, 2016 through February 12, 2017.

Z. l 0n or about December 9, 2016, the plaintiffs’ 2012 Dodge Ram 2500
pickup truck was vandalized which vandalism caused extensivedamage to the truck’s
fuel system and engine. t

8.'_ The` plaintiffs presented a prompt and timely claim to the defendant,
State Farm, for the vandalism damage to their 2012 Dodge Ram 2500 truck.

. 9. Thomas.and Ash|ey Ayers have complied with all requirementsand policy
provisions included in _the policy of insurance referenced in Paragraph 4 above.

10. State - Farm, illegitimately, intentionally and without reasonable
justiHcatioh, refused to pay for the repairs needed as a result of the vandalism damage
to the plaintiffsl 2012 Dodge Ram 2500 truck.

11. The plaintiffs, Thomas and Ash|ey Ayers, are entitled, pursuant to the
policylof insurance issued to them by State Farm, to recover all costs necessary to

repair the vandalism damage to their 2012 Dodge Ram 2500 truck.

 

 

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121 State Farm, by and through its agents, representatives and employees, '
failed to undertake a fair, adequate and objective investigation of the vandalism
damage claim presented by the plaintiffs and il|egitimate|y and unjustifiably refused to
consider and, indeed, ignored competent evidence demonstrating that the plaintiffs’
vandalism claims were legitimate and should be paid.

13. State Farm, by and through its agents, representatives and employees,
breached the'implied covenant of good faith and fair dealing inherent in the policy of
insurance it issued to Ash|ey Ayers land Thomas Ayers in connection with its
investigation, adjustment, handling, negotiation and illegitimate refusal to pay in ful|,
a|| amounts due the plaintiffs as a result of the vandalism damage to their 2012 Dodge
Ram 2500 truck, which investigation, adjustment, handling, negotiation and refusal
were made under circumstances that did not furnish a reasonable justification therefor.

1-4. As a direct and proximate result of State Farm's intentional and/or
reckless conduct regarding the plaintiffs’ claim as alleged herein, the plaintiffs were
severely annoyed,; inconvenienced and aggravated. `

15-. As a' direct and proximate result of State Farm’s'intentiona| and/or
reckless conduct regarding the plaintiffs’ claim as alleged herein, the plaintiffs were
compelled to hire an attorney and, therefore, have incurred and will continue to incur
attorney fees, costs and other expenses.

16. As a direct and proximate result of State Farm's intentional and/or
reckless conduct regarding the plaintiffs’ claim as alleged herein, the plaintiffs have
suffered emotional distress, mental anguish, inconvenience, , annoyance,

embarrassment and other general damages.

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17. State Farm's conduct in the handling of the claims presented by Thomas
Ayers and Ash|ey_Ayers was intentional and exhibited a conscious disregard for the
rights of Mr. and Mrs. Ayers which conduct had a great probability of causing them
substantial harm.

18. State Farm's breach of the implied covenant of good faith and fair
dealing, as alleged herein, was done with a state of mind characterized by i|| will and/or
a spirit of revenge and/or with conscious disregard for the plaintiffs’ rights that had a
great probability of causing them substantial harm.

19. The acts and/or omissions of the defendant, State Farm, by and through
its agents, representatives and/or employees, were reprehensible and were done
willfu||y, maliciously and/or with a conscious disregard for .the plaintiffs’ rights, and
were so outrageous that the plaintiffs are entitled to recover punitive damages in order
to punish State’Farm and in order to deter it, and others, from engaging in similar

conduct in the future.

WHEREFCRE, the plaintiffs, Thomas Ayers and Ash|ey Ayers, demand judgment
against the defendant, State Farm Mutua| Automobile Insurance Companyy for
compensatory damages for all contractual benefits to which they are entitled to pay
for the repairs necessitated as a result of the vandalism of their truck and as well
compensatory damages in an amount in excess of $25,000 and for punitive damages
in an amount in"excess of $25,000, for costs incurred in pursuit'of this action'and for

such other relief'as this court deems proper.

 

 

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A TRIAL BY JURY IS DEMANDED ON ALL SSUES

 

THOMAS M. AYERS AND ASHLEY D. AYERS,
Plaintiffs,

WS»

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